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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Duane Porter, et al.
                                                   Plaintiff,
v.                                                              Case No.: 1:12−cv−09844
                                                                Honorable Sara L. Ellis
Pipefitters Association Local Union 597, et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 29, 2020:


         MINUTE entry before the Honorable Sara L. Ellis: Status hearing held on
1/29/2020 and continued to 3/24/2020 at 9:30 a.m. By 2/10/2020, the parties are to confer
on issues relating to contingency of sale, length of agreement, and class action fairness act
and provide update to the Court's email inbox. Defendant's motions in limine nos. 1−15
are stricken without prejudice. The status set before Magistrate Weisman to go forward on
2/10/2020 at 9:15 a.m.Mailed notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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